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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 12-359V
                                     Filed: October 29, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
SUMMER PERRY,                 *
                              *                               Special Master Gowen
          Petitioner,         *
                              *                               Joint Stipulation;
v.                            *                               Attorneys’ Fees and Costs;
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Mark T. Sadaka, Law Offices of Sadaka Associates LLC, Englewood, NJ, for petitioner.
Darryl R. Wishard, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

        On June 6, 2012, Summer Perry (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that as a result of receiving a Hepatitis B vaccine on June 11, 2009, July 29, 2009, and March 19,
2010 she suffered myasthenia gravis, along with fatigue, muscle weakness, eyelid dropping, and
fatigue-induced diplopia. Petition at Preamble, ¶ 3, ¶ 8, filed June 6, 2012. On September 19,
2014, the parties filed a stipulation in which they agreed to an award of compensation to
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                 1
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petitioner. On that same day, I issued a Decision adopting the parties’ stipulation for an award.
See Decision on J. Stip., filed Sept. 19, 2014.

        On October 28, 2014, the parties filed a stipulation regarding final attorneys’ fees and
costs. Petitioner requests a total award of attorneys’ fees and costs in the amount of $41,094.53.
Respondent does not object. In accordance with General Order #9, petitioner represents that she
did not personally incur costs related to this proceeding. See Stipulation of Fact Regarding Final
Attorneys’ Fees and Costs, filed Oct. 28, 2014.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       (1) in the form of a check jointly payable to petitioner and to petitioner’s attorney, Mark
       T. Sadaka, of the Law Offices of Sadaka Associates, LLC, in the amount of $41,094.53.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance herewith.3

       IT IS SO ORDERED.


                                             s/ Thomas L. Gowen
                                             Thomas L. Gowen
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                2
